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                        7     NEO4J, INC. and NEO4J SWEDEN AB

                        8                                IN THE UNITED STATES DISTRICT COURT
                        9                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                      10      NEO4J, INC., a Delaware corporation, NEO4J                Case No. 5:18-cv-07182-EJD
                              SWEDEN, AB,
                      11                                                                NOTICE OF CHANGE OF LAW FIRM
                                                  Plaintiffs,                           AND ADDRESS FOR JOHN V.
                      12                                                                PICONE III
                                        v.
                      13
                              PURETHINK LLC, a Delaware limited
                      14      liability company, IGOV INC., a Virginia
                              corporation, and JOHN MARK SUHY, an
                      15      individual,

                      16                          Defendants.

                      17
                              AND RELATED COUNTERCLAIMS.
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H OPKINS & C ARLEY
   ATTO RNEY S AT LAW
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SAN JO SE  R EDW OOD CITY
                              NOTICE OF CHANGE OF LAW FIRM AND ADDRESS FOR JOHN V. PICONE III; CASE NO. 5:18-CV-07182-EJD
                                Case 5:18-cv-07182-EJD Document 246 Filed 03/21/24 Page 2 of 2



                        1             PLEASE TAKE NOTICE that John V. Picone III, counsel of record for Plaintiffs and

                        2     Counter Defendants Neo4j, Inc. and Neo4j Sweden AB in the above-entitled matter has changed

                        3     law firm and address from Hopkins & Carley, ALC to:

                        4                                                    John V. Picone III
                                                                             Spencer Fane LLP
                        5                                            225 W. Santa Clara St., Suite 1500
                        6                                                   San Jose, CA 95113
                                                                          Tel. No. (408) 286-5100
                        7                                                jpicone@spencerfane.com

                        8     and requests that the Court and counsel for all parties change their address for service of any

                        9     pleadings, notices, correspondence, orders, letter briefs, and all other documents and notices

                      10      relating to the above-captioned case not otherwise filed through the Court’s electronic filing system

                      11      to the new firm, and address set forth above, effective as of the date hereof.

                      12      Dated: March 21, 2024                                 HOPKINS & CARLEY
                                                                                    A Law Corporation
                      13

                      14                                                              By: /s/ John V. Picone III
                                                                                         John V. Picone III
                      15                                                                 Jeffrey M. Ratinoff
                                                                                         Attorneys for Plaintiffs and
                      16                                                                 Counter-Defendants
                                                                                         NEO4J, INC. and NEO4J SWEDEN AB
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